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                                            U.S. Department of Justice
                                            United States Attorney
                                            District of New Jersey


                                            970 Broad Street           973-645-2700
                                            Newark, New Jersey 07102

                                            January 16, 2024

Honorable Michael E. Farbiarz
United States District Judge
U.S. Post Office & Federal Courthouse
Newark, New Jersey 07102

            Re:   United States v. Gordon Coburn and Steven Schwartz
                  Crim. No. 19-120 (MEF)

Dear Judge Farbiarz:

       The Government writes to inform the Court that, on January 11, 2024, the
Government transmitted a Mutual Legal Assistance Treaty (“MLAT”) request to
India seeking the same deposition testimony that the Defendants sought through
letters rogatory. Prior to submitting the MLAT request to India, the Government
discussed its general contents with the Defendants. The Government will press
India to execute the MLAT request as soon as possible and update the Court and
the Defendants as to any response the Government receives from India.



                                            Respectfully submitted,

GLENN S. LEON                               PHILIP R. SELLINGER
Chief                                       United States Attorney

/s/ Sonali D. Patel                         /s/ Jonathan Fayer
/s/ Gerald M. Moody, Jr.
________________________________            __________________________
SONALI D. PATEL                             JONATHAN FAYER
GERALD M. MOODY, JR.                        Assistant U.S. Attorney
Fraud Section, Criminal Division            District of New Jersey
U.S. Department of Justice
